       Case 2:16-cv-01183-TC-DBP Document 176 Filed 08/23/18 Page 1 of 2




____________________________________________________________________________

                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF UTAH, CENTRAL DIVISION




 J. THOMPSON, et al., individually and on
 behalf of all others similarly situated, RULING & ORDER

                         Plaintiffs                Case No. 2:16-cv-01183

 vs.                                               District Court Judge Tena Campbell

 1-800 CONTACTS, INC., et al.,                     Magistrate Judge Dustin Pead
                         Defendants.




       This matter was referred to Magistrate Judge Dustin Pead pursuant to a 28 U.S.C.

§636(b)(1)(A) referral from District Court Judge Tena Campbell. (ECF No. 69.) A Status

Conference was held on August 22, 2018 at 2:00 p.m. Attorneys Carl Goldfarb, Steven Jodlowski,

David Mitchell, and Ronald Marron were present on behalf of the Plaintiff. Attorney Justin

Raphael was present on behalf of Defendant 1-800 Contacts. Attorney Chul Pak and Justin Cohen

was present on behalf of Defendants Walgreen Co. and Vision Direct, and Attorney Alycia Broz

was present on behalf of Defendant Luxottica.

       As set forth on the record, the court rules as follows:
     Case 2:16-cv-01183-TC-DBP Document 176 Filed 08/23/18 Page 2 of 2




  1. Regarding the Protective Order, the court adopts the proposal set forth in Plaintiffs’ Status

     Report filed on August 28, 2018 [175]. If the parties are unable to reach an agreement on

     the remaining provision, they are authorized, no later than August 28, 2018, to submit a

     proposed order with their respective suggested language on the disputed provision in red

     line and a two-page brief, for the court’s resolution, setting forth each party’s position on

     the disputed issue.

  2. 1-800 Contacts, Walgreens and Vision Direct have produced materials from the FTC

     action. Luxottica will produce its FTC materials no later than August 31, 2018.

  3. 1-800 Contacts, Vision Direct and Walgreen Co. will produce transactional data by

     September 28, 2018. If an issue arises, such that there will be data production after the

     September 28, 2018 deadline, the parties are required to file a joint status report informing

     the court thereof.

  4. As to Luxottica, final determinations on data fields are due September 12, 2018, with the

     full production of transactional data due by October 12, 2018.


IT IS SO ORDERED.

     Dated this 23rd day of August, 2018.



                                       By:                                     .
                                             Dustin B. Pead
                                             U.S. Magistrate Judge




                                               -2-
